
By the Court.
Belatrix filed an application for workmen’s compensation for an alleged injury received on March 19, 1936, and the Industrial Commission denied compensation on July 9, 1936, notice of which denial was received by relatrix on July 15, 1936. No application for rehearing was filed until August 20, 1936, and on September 14, 1936, the commission dismissed the application for rehearing for the reason that it had not been filed within the 30-day limitation prescribed by Section 1465-90, General Code.
Thereafter the claim for compensation was before the commission upon two applications for reconsideration and another application for rehearing, all of which were dismissed.
Two years and four months after the last rehearing application was dismissed, there was filed in this court a petition for a writ of mandamus to compel the commission to rehear the claim and make a transcript of the record upon such rehearing. The cause was submitted upon the petition, answer, reply and stipulation that the record of the Industrial Commission should constitute the evidence in the case.
The record contains an affidavit of the relatrix filed on December 11, 1937, in support of her second application for reconsideration which had been filed almost five months before. That affidavit states that relatrix with her father visited the branch office of the commission béfore the expiration of the 30-day period and she was told by the young lady at the information desk that an application for rehearing could not he filed within 3Ó days and that relatrix had two more days to wait. The affidavit recites that the father of relatrix “heard this and said it was strange, as he once had a claim in the Industrial Commission and he had had to file it within 30 days,” hut he said relatrix should do as she had been told.
No application for rehearing having been filed with the commission within 30 days after relatrix received *546notice of the denial of her claim, a writ of mandamus will he denied. State, ex rel. Allen, v. Industrial Commission, 127 Ohio St., 541, 189 N. E., 503, and State, ex rel. Sheppler, v. Industrial Commission, 123 Ohio St., 256, 174 N. E., 764.

Writ denied.

Weygandt, C. J., Turner, Williams, Matthias, Hart and Zimmerman, JJ., concur.
Bettman, J., not participating.
